          Case 6:20-cv-00487-ADA Document 50-1 Filed 01/06/21 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


    WSOU INVESTMENTS, LLC d/b/a                    §
    BRAZOS LICENSING AND                           §      CIVIL ACTION NO. 6:20-cv-487
    DEVELOPMENT,                                   §      CIVIL ACTION NO. 6:20-cv-488
                                                   §      CIVIL ACTION NO. 6:20-cv-489
             Plaintiff,                            §      CIVIL ACTION NO. 6:20-cv-490
                                                   §      CIVIL ACTION NO. 6:20-cv-491
    v.                                             §      CIVIL ACTION NO. 6:20-cv-492
                                                   §      CIVIL ACTION NO. 6:20-cv-493
    ZTE CORPORATION, ZTE (USA)                     §      CIVIL ACTION NO. 6:20-cv-494
    INC., AND ZTE (TX), INC.                       §      CIVIL ACTION NO. 6:20-cv-495
                                                   §      CIVIL ACTION NO. 6:20-cv-496
             Defendants.                           §      CIVIL ACTION NO. 6:20-cv-497
                                                   §
                                                   §         JURY TRIAL DEMANDED



                             ORDER DENYING MOTION TO STAY

         Before the Court is Defendants’ Motion to Stay. After consideration of the Motion and the

applicable law, the Court is of the opinion that the Motion should be DENIED.

         IT IS THEREFORE ORDERED that Defendants’ Motion to Stay is DENIED.

         SIGNED this _____ day of December, 2020.


                                                       ________________________________
                                                       ALAN D ALBRIGHT
                                                       UNITED STATES DISTRICT JUDGE
